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UNIVERSITY OF ALASKA BOARD OF
REGENTS AND UNIVERSITY OF
ALASKA SYSTEM
                   IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA

THERESA DUTCHUK, ANNALISA
HEPPNER, LIZ ORTIZ, JOANNA WELLS,
NORMA JOHNSON, AND JANE DOE VI,
                    Plaintiffs,
      v.
DAVID YESNER, UNIVERSITY OF                       Case No. 3:19-cv-00136-HRH
ALASKA BOARD OF REGENTS AND
UNIVERSITY OF ALASKA SYSTEM,
                    Defendants.


           UNIVERSITY’S REQUEST FOR RULE 37 ATTORNEYS’ FEES

      University of Alaska System and the Alaska Board of Regents (collectively, the

“University”), pursuant to Fed. R. Civ. P. 37 and this Court’s Order on Motion to




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Compel Discovery (“Order”),1 submit this request for reasonable expenses incurred in

making its motion to compel.2

       Rule 37(a)(5) provides that if a motion to compel discovery is granted, as

occurred here on September 2, 2021, “the court must, after giving an opportunity to be

heard, require the party or deponent whose conduct necessitated the motion . . . to pay

the movant’s reasonable expenses incurred in making the motion, including attorneys’

fees,” subject to three narrow exceptions—two of which were foreclosed by this

Court’s September 2 order.3 This Court gave Plaintiffs 14 days—until September 16—

to address the sole remaining potential exception. Plaintiffs did not file any response.

The University is thus entitled to its reasonable expenses incurred in the lead up to and

pursuit of its motion to compel.

       The Affidavit of Danielle Ryman accompanying this motion includes a detailed

statement of those reasonable expenses—delineated by the date of the task, the

timekeeper, the time spent, the hourly rate, and a narrative of the work completed.

Those expenses total $24,196.00, and include roughly 70 hours of time billed at the

following rates based on years of experience4:




1
  ECF No. 120.
2
  ECF No. 109.
3
  ECF No. 120 at 16.
4
  Ryman Aff. (Oct. 11, 2021) at ¶¶ 3-5 and Exhibit A.

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    Danielle Ryman     Partner             24 years’ experience    $435/hour
    Sarah Schirack     Counsel             7 years’ experience     $380/hour
    Priyam Desai       Associate           2 years’ experience     $300/hour
    Dawn Smith         Senior Paralegal    18 years’ experience    $225/hour

       These rates are reasonable based on rates charged by other legal professionals in

the Anchorage area for work on complex civil litigation.5 For example, an attorney for

the ACLU averred to this Court in late 2020 that, based on his research in preparing for

a fee motion, “Anchorage litigation attorneys with more than 10 years of experience

typically charge between $375 to $550 per hour and Anchorage litigation attorneys with

1 to 10 years of experience charge typically between $200 to $400 per hour,” with that

attorney’s rate set at $425 per hour based on 14 years of practice.6 In line with that, in

2019 Lane Powell LLC charged $395-425 for partner-level work and $250-325 for

associate-level.7 Those rates reflect an increase from 2017, in which one of the same

Lane Powell LLC partners charged $375 per hour, which was approved by Judge

Sharon Gleason.8

       The hours Perkins Coie legal professionals spent working on the University’s

discovery dispute with Plaintiffs are also reasonable given this case’s factual and legal

complexity, and the high number of Plaintiffs. Perkins Coie attorneys endeavored to


5
  Id. ¶ 6.
6
  Id. at Exhibit B, at 3-4.
7
  Id. at Exhibit C.
8
  Id. at Exhibits D and E.

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make the University’s motion to compel and reply in support thereof as streamlined as

possible, which required careful review of Plaintiffs’ initial and supplemental discovery

responses to ensure that the University’s condensed characterizations thereof were fair,

accurate, and comprehensive, on top of the legal research necessary to support to the

multiple grounds for its motion to compel.9

          This Court should therefore award the University $24,196.00 in reasonable

expenses incurred in the making of its motion to compel.


          DATED: October 11, 2021.

                                                  PERKINS COIE LLP

                                                  s/Danielle M. Ryman
                                                  Danielle M. Ryman, Alaska Bar No. 9911071
                                                  s/Sarah L. Schirack
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                                                  REGENTS AND UNIVERSITY OF ALASKA
                                                  SYSTEM


                                          CERTIFICATE OF SERVICE
I hereby certify that on October 11, 2021 I filed a true and correct copy of the foregoing document with the Clerk
of the Court for the United States District Court – District of Alaska by using the CM/ECF system. Participants in
Case No. 3:19-cv-00136-HRH who are registered CM/ECF users will be served by the CM/ECF system.
s/ Sarah Schirack


9
    Id. ¶ 7.

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